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     CASE NUMBER: 50-2020-CA-012972-XXXX-MB
     CASE STYLE: ATKINSON, ANA V SAMS EAST LLC



     Dockets & Documents



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           Docket Number                  Effective Date       Description

           2                              11/24/2020           CIVIL COVER SHEET

           3                              11/24/2020           COMPLAINT

           4                              11/24/2020           SUMMONS ISSUED

           5                              11/24/2020           REQUEST TO PRODUCE

           6                              11/24/2020           NOTICE OF FILING INTERROGS

           1                              11/25/2020           DIVISION ASSIGNMENT

           7                              11/25/2020           PAID $411.00 ON RECEIPT 3823771

           8                              12/15/2020           ANSWER & AFFIRMATIVE DEFENSES

           9                              12/15/2020           NOTICE OF APPEARANCE CIVIL




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